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IN THE UNITED STATES DISTRICT COURT FILE
FOR THE WESTERN DISTRICT OF TEXAS M07 AUG 28 PM 4: 28
AUSTIN DIVISION
CLERK US DISTRICT COURT
WESTERK GISTRICT OF TEXAS
PHILIP BRASFIELD, et al., py
Plaintiffs,
-Vvs- Case No. A-05-CA-1009-SS
RISSI L. OWENS, et al.,
Defendants.

 

_ JUDGMENT
BE IT REMEMBERED on the _3- “tay of August 2007, the Court entered its order
granting Defendants’ Amended and Supplemental Motion to Dismiss Federal Claims in their Official
Capacities [#345] and denying Plaintiffs’ Motion for Class Certification [#340]. Thereafter, the
Court enters the following:
IT IS ORDERED, ADJUDGED, and DECREED that Plaintiffs’ Motion for Class
Certification [#340] is DENIED; and
IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Plaintiff's
federal claims brought under 42 U.S.C. § 1983 and Plaintiffs’ state law claims in the
sbove-styled cause are DISMISSED WITHOUT PREJUDICE. Defendants shall go
hence without delay and with their costs, for which let execution issue against
Plaintiffs.
SIGNED this the 28 ° ~ day of August 2007.
/Sasmparhr—
SAM SPARKS UV
UNITED STATES DISTRICT JUDGE
